      Case 3:16-cv-02787-WHO    Document 235      Filed 02/01/18   Page 1 of 28




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Charles K. Verhoeven (Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
    David A. Perlson (Bar No. 209502)
  davidperlson@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111
    Telephone: (415) 875-6600
  Facsimile: (415) 875-6700

  Kevin P.B. Johnson (Bar No. 177129)
    kevinjohnson@quinnemanuel.com
  Victoria F. Maroulis (Bar No. 202603)
    victoriamaroulis@quinnemanuel.com
  555 Twin Dolphin Drive, 5th Floor
    Redwood Shores, California 94065
  Telephone: (650) 801-5000
    Facsimile: (650) 801-5100

    Attorneys for Samsung Electronics Co., Ltd.,
 Samsung Electronics America, Inc., and
    Samsung Research America, Inc.

                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION

    HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO

                          Plaintiffs,               SAMSUNG’S MOTION TO ENJOIN
                                                 HUAWEI FROM ENFORCING THE
            v.                                      INJUNCTION ISSUED BY THE
                                                 INTERMEDIATE PEOPLE’S
    SAMSUNG ELECTRONICS CO., LTD., et al.,          COURT OF SHENZHEN

                          Defendants.               Hearing Date: March 14, 2018
                                                 Time: 2:00 p.m.
                                                    Place: Courtroom 2, 17th Floor
 SAMSUNG ELECTRONICS CO., LTD. &                 Judge: Hon. William H. Orrick
    SAMSUNG ELECTRONICS AMERICA, INC.

                          Counterclaim-Plaintiffs,

            v.                                      REDACTED VERSION OF
                                                 DOCUMENT SOUGHT TO BE
    HUAWEI TECHNOLOGIES CO., LTD.,                  SEALED
 HUAWEI DEVICE USA, INC., HUAWEI
    TECHNOLOGIES USA, INC., & HISILICON
 TECHNOLOGIES CO., LTD.

                    Counterclaim-Defendants.



                                                                 Case No. 16-cv-02787-WHO
                                 SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO         Document 235        Filed 02/01/18     Page 2 of 28




 1          TO PLAINTIFFS AND COUNTERCLAIM-DEFENDANTS HUAWEI TECHNOLOGIES

 2 CO., LTD., HUAWEI DEVICE USA, INC., HUAWEI TECHNOLOGIES USA, INC., AND

 3 HISILICON TECHNOLOGIES CO., LTD., AND THEIR COUNSEL OF RECORD

 4          PLEASE TAKE NOTICE that on March 14, 2018 at 2:00 p.m., or as soon thereafter as the

 5 matter may be heard, in the courtroom of the Honorable William H. Orrick, located at 450 Golden

 6 Gate Avenue, San Francisco, California 94102, Defendants and Counterclaim-Plaintiffs Samsung

 7 Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Research America, Inc.

 8 (collectively “Samsung”) respectfully request that this Court enjoin Huawei Technologies Co., Ltd.,

 9 Huawei Device USA, Inc., Huawei Technologies USA, Inc., and HiSilicon Technologies Co., Ltd.

10 (collectively “Huawei”) from taking steps to enforce, anywhere, the injunction issued by the

11 Intermediate People’s Court of Shenzhen, China against Samsung on January 11, 2018.

12          This motion is based on this notice of motion and supporting memorandum of points and

13 authorities, the supporting declarations of Dr. Song Lianbing, Guanbin Xie, and Tong Wang, the

14 accompanying exhibits, reply briefing in further support of this motion and supporting declarations

15 and accompanying exhibits, as well as other written or oral argument that Samsung may present to

16 the Court.

17

18 DATED: February 1, 2018                      Respectfully submitted,

19                                              QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
20

21                                              By /s/ Charles K. Verhoeven
                                                  Charles K. Verhoeven
22                                                Kevin P.B. Johnson
                                                  Victoria F. Maroulis
23                                                Thomas D. Pease
                                                  David A. Perlson
24

25                                                 Attorneys for Samsung Electronics Co., Ltd.,
                                                   Samsung Electronics America, Inc., and
26                                                 Samsung Research America, Inc.
27

28

                                                -i-                   Case No. 16-cv-02787-WHO
                                     SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO                          Document 235                  Filed 02/01/18              Page 3 of 28




 1                                                        TABLE OF CONTENTS
                                                                                                                                                 Page
 2

 3 INTRODUCTION ..............................................................................................................................1

 4 FACTUAL BACKGROUND ............................................................................................................4

 5 I.           STANDARD-SETTING ORGANIZATIONS AND SEP “HOLD UP” ...............................4

 6 II.          HUAWEI AND SAMSUNG’S FRAND COMMITMENTS AND
                NEGOTIATIONS ..................................................................................................................6
 7
     III.       HUAWEI’S GLOBAL LITIGATION OFFENSIVE AGAINST SAMSUNG .....................8
 8
     IV.        SAMSUNG’S EXTENSIVE MANUFACTURING OPERATIONS IN CHINA ...............10
 9
     ARGUMENT ...................................................................................................................................11
10
     I.         APPLICABLE LEGAL STANDARD .................................................................................11
11
                A.         The Court Has the Power to Issue Antisuit Injunctions under Microsoft ................11
12
     II.        THE PARTIES AND ISSUES ARE FUNCTIONALLY THE SAME ...............................12
13
                A.         The Parties Are Functionally the Same ....................................................................12
14
                B.         The Issues Are Functionally the Same .....................................................................12
15
     III.       HUAWEI HAS THE POWER TO ENFORCE THE SHENZHEN INJUNCTION ............15
16
     IV.        THIS COURT IS UNIQUELY SITUATED TO RESOLVE THE GLOBAL
17              FRAND ISSUES OF THE PARTIES’ COMPLIANCE WITH THEIR
                LICENSING OBLIGATIONS AND THE AVAILABILITY OF INJUNCTIVE
18              RELIEF ................................................................................................................................16
19 V.           MULTIPLE UNTERWESER FACTORS APPLY ...............................................................17

20              A.         Huawei’s Enforcement of Injunctions in China Violates U.S. Antitrust Law
                           and Will Frustrate Both U.S. Policy and the Policies of This Court ........................18
21
                B.         Huawei’s Chinese Injunction Actions Are Vexatious and Oppressive ....................19
22
                C.         Huawei’s Chinese Actions Prejudice Multiple Equitable Considerations ...............20
23
                           1.         The Chinese Actions Permit Huawei to Circumvent U.S. Law and
24                                    Risk Injuring Consumers and the Marketplace ............................................20

25                         2.         Huawei’s Chinese Actions Could Result in Inconsistent Rulings or a
                                      Race to Judgment .........................................................................................20
26
     VI.        THE REQUESTED INJUNCTION HAS NO ADVERSE IMPACT ON COMITY ..........21
27
     CONCLUSION ................................................................................................................................22
28

                                                                  -ii-                  Case No. 16-cv-02787-WHO
                                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
      Case 3:16-cv-02787-WHO                      Document 235               Filed 02/01/18            Page 4 of 28




 1                                                  TABLE OF AUTHORITIES
                                                                                                                                      Page
 2

 3                                                                   Cases

 4 Albemarle Corp. v. AstraZeneca UK Ltd.,
          No. Civ. A. 5:08-1085-MBC, 2009 WL 902348 (D.S.C. Mar. 31, 2009) .......................... 21
 5
   Apple Inc. v. Qualcomm Inc.,
 6        No. 3:17-cv-00108-GPC-MDD, 2017 WL 3966944 (S.D. Cal. Sep. 7, 2017) ................... 17

 7 Apple, Inc. v. Motorola Mobility, Inc.,
           No. 11-CV-178-BBC, 2012 WL 5416941 (W.D. Wis. Oct. 29, 2012) ................................. 5
 8
   Apple Inc. and NeXT Software, Inc. v. Motorola, Inc.,
 9         Nos. 2012-1548, 2012-1549, Dkt. No. 104 (Fed. Cir. Dec. 14, 2012) .................................. 5

10 Applied Med. Distribution Corp. v. Surgical Co. BV,
           587 F.3d 909 (9th Cir. 2009) ......................................................................................... 12, 21
11
   E. & J. Gallo Winery v. Andina Licores S.A.,
12         446 F.3d 984 (9th Cir. 2006) ............................................................................. 11, 12, 17, 21

13 Hilton v. Guyot,
          159 U.S. 113 (1895) ............................................................................................................ 21
14
   InterDigital Tech. Corp. v. Pegatron Corp.,
15        No. 15-CV-02584-LHK, 2015 WL 3958257 (N.D. Cal. June 29, 2015) ................ 12, 13, 21

16 InterDigital Commc’ns, Inc. v. Huawei Tech. Co., Ltd.,
          No. 1:13-cv-00008-RGA, Dkt. 17 (D. Del. Feb. 11, 2013) ................................................ 18
17
   Laker Airways Ltd. v. Sabena, Belgian World Airlines,
18        731 F.2d 909 (D.C. Cir. 1984) ............................................................................................ 19
19 Microsoft Corp. v. Motorola, Inc.,
         871 F. Supp. 2d 1089 (W.D. Wash. 2012),
20       aff’d, 696 F.3d 872 (9th Cir. 2012) ................................. 1, 11, 12, 13, 14, 16, 17, 19, 20, 21

21 Microsoft Corp. v. Motorola, Inc.,
           795 F.3d 1024 (9th Cir. 2015) ............................................................................................... 5
22
   In the Matter of Motorola Mobility LLC and Google Inc.,
23         F.T.C. File No. 121-0120, Dkt. No. C-4410 (July 23, 2013) ................................................ 5

24 Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren,
          361 F.3d 11 (1st Cir. 2004) ..................................................................................... 11, 18, 19
25
   Realtek Semiconductor Corp. v. LSI Corp.,
26        946 F. Supp. 2d 998 (N.D. Cal. 2013) .............................................................................. 5, 6

27 Seattle Totems Hockey Club, Inc. v. National Hockey League,
           652 F.2d 852 (9th Cir. 1981) ............................................................................................... 21
28

                                                               -iii-                 Case No. 16-cv-02787-WHO
                                                    SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO                       Document 235              Filed 02/01/18             Page 5 of 28




 1 TCL Commc’ns Tech. Holdings, Ltd. v. Telefonaktienbolaget LM Ericsson,
         No. 8:14-cv-00341-JVS-DFM, Dkt. 279-1 (C.D. Cal. June 29, 2015) ............................... 16
 2
   TCL Commc’ns Tech. Holdings, Ltd. v. Telefonaktienbolaget LM Ericsson,
 3       No. 8:14-cv-00341-JVS-DFM, 2016 WL 6562075 (C.D. Cal. Aug. 9, 2016) ...................... 6

 4 Unwired Planet International Ltd. v. Huawei Technologies Co., Ltd.,
          [2017] EWHC 711 (Pat) ................................................................................................ 16, 17
 5
   Zynga, Inc. v. Vostu USA, Inc.,
 6        No. 11-cv-02959-EJD, 2011 WL 3516164 (N.D. Cal. Aug. 11, 2011) .............................. 18

 7
                                                         Additional Authorities
 8
      American National Standards Institute, United States Standards Strategy (2005) ........................... 4
 9
      German Institute for Standardization, Economic benefits of standardization (2000) ....................... 4
10
      Impacts of Standards Users Group, Study Into the Impact of Standardization (2002) ..................... 4
11
      Mark A. Lemley, Intellectual Property Rights and Standard-Setting Organizations,
12          90 Cal. L. Rev. 1889 (2002) .................................................................................................. 6

13 Mark A. Lemley & Carl Shapiro, Patent Holdup and Royalty Stacking,
           85 Tex. L. Rev. 1991 (2007) ................................................................................................. 4
14
   Jeffrey I.D. Lewis, What Is “FRAND” All About?: The Licensing of Patents Essential to
15         an Accepted Standard (June 11, 2014).................................................................................. 6

16 Peter Swann, The Economics of Standardization (2000) .................................................................. 4

17

18
19

20

21

22

23

24

25

26

27

28

                                                              -iv-                  Case No. 16-cv-02787-WHO
                                                   SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235         Filed 02/01/18      Page 6 of 28




 1                                           INTRODUCTION
 2          Samsung moves to enjoin Huawei from enforcing an injunction order recently issued in

 3 China on standard-essential patents (“SEPs”) that are the subject of this action. On January 11,

 4 2018, the Intermediate People’s Court of Shenzhen (“Shenzhen Court”) issued an order enjoining

 5 Samsung’s manufacture and sale in China of 4G LTE standardized smartphones. The Shenzhen

 6 Court based this order on two Chinese patents that Huawei declared essential to 3GPP cellular

 7 telecommunications standards. These patents are included in the worldwide portfolios of SEPs that

 8 are the subject of the competing breach of contract claims before this Court; in fact, they are also

 9 counterparts to two U.S. patents that Huawei asserts here. Huawei agreed to license these SEPs on

10 fair, reasonable, and non-discriminatory (“FRAND”) terms to companies like Samsung that

11 implement these telecommunications standards. Huawei’s enforcement of this injunction order

12 violates U.S. antitrust law forbidding patent “hold up,” is contrary to its FRAND licensing

13 obligations, and threatens a major disruption to U.S. commerce.

14          If Huawei is permitted to enforce the Shenzhen injunction, it will frustrate this Court’s ability

15 to adjudicate the FRAND contract issues, including the propriety of injunctive relief on the parties’

16 SEPs, that Huawei chose to put before this Court when it asked the Court to decide whether the

17 parties satisfied their FRAND licensing obligations. In these circumstances, the Ninth Circuit

18 specifically endorses the use of antisuit injunctions to bar SEP owners from enforcing foreign
19 injunction orders during the pendency of U.S. FRAND proceedings. Microsoft Corp. v. Motorola,

20 Inc., 696 F.3d 872, 889 (9th Cir. 2012) (affirming district court’s holding that U.S. breach of

21 FRAND obligations action “is dispositive of whether a German court may issue an injunction . . .

22 for infringement of the European patents.”). Because this action will decide whether Huawei and/or

23 Samsung are entitled to injunctive relief on their SEPs, it is “dispositive” of the Shenzhen action.

24 Id. Accordingly, the Court should enjoin Huawei from enforcing the Shenzhen injunction order

25 until the FRAND and antitrust claims presented here have been resolved.

26          Huawei’s hometown injunction actions are part of a coordinated strategy to force Samsung

27 to accept onerous non-FRAND terms for a cross-license to the parties’ worldwide 3G and 4G SEP

28 portfolios. Huawei chose to initiate that strategy in this Court. Its complaint, filed May 24, 2016,

                                                  -1-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 7 of 28




 1 alleges Samsung infringes eleven Huawei SEPs and seeks a declaratory judgment that Samsung

 2 breached its contractual obligations to license Huawei’s worldwide portfolio of patents on FRAND

 3 terms and conditions. Huawei also seeks a declaratory judgment setting the terms of a global

 4 FRAND cross license and an injunction prohibiting Samsung from seeking injunctions against

 5 Huawei anywhere in the world:

 6          Enjoin Samsung from seeking injunctive relief against Plaintiffs (including their
            affiliates) in any jurisdiction with respect to any alleged infringement of any patent
 7          essential to 3GPP standards

 8 Dkt. 1 (“Compl.”) at Prayer for Relief, E. Samsung, in turn, has asserted its own counterclaims for

 9 breach of contract, as well as antitrust violation of Section 2 of the Sherman Act, and has asked the

10 Court to bar Huawei from seeking injunctive relief on its SEPs. Dkt. 91 (Samsung’s Answer and

11 Am. Countercls.) at 79-115.

12          When Huawei filed this contract action asking the Court to enjoin Samsung from seeking

13 injunctions against Huawei anywhere in the world, Huawei failed to disclose it was in the process

14 of filing eight individual SEP-based injunction actions against Samsung in Huawei’s home district

15 of Shenzhen. Each such action presents two issues: (1) whether the asserted SEP is infringed; and

16 (2) if so, whether to issue an injunction. Although Huawei could have sought damages, the sole

17 relief it seeks in the Shenzhen SEP actions are injunctions against Samsung’s manufacture and sale

18 of smartphones. Those actions have proceeded more quickly than this one. On January 11, 2018,
19 the Shenzhen Court entered judgment in two of the cases, concluding Samsung infringes two

20 Chinese SEPs and that its licensing conduct with respect to those patents was at fault. The Court

21 issued an injunction order against Samsung’s manufacture, sale, and offering for sale of smartphones

22 in China, a major manufacturing hub not only for the phones Samsung sells in China but for those

23 sold here and around the world. Because Samsung has now appealed the order to the Guangdong

24 High Court, that order is temporarily stayed, but will go into effect if and when it is affirmed;

25 although it is difficult to ascertain how long the appeal will take, it could conclude within months.

26          Samsung has litigated in China in the hopes that the Shenzhen Court would not enter an

27 injunction until the worldwide FRAND claims that Huawei first presented here had been fully

28 litigated. With the injunction order having been issued, a dangerous probability now exists that

                                                 -2-                   Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235        Filed 02/01/18       Page 8 of 28




 1 Huawei’s hometown SEP actions might ultimately undermine this Court’s ability to decide the

 2 broader FRAND and antitrust claims presented here. Samsung therefore brings the present motion.

 3          Huawei makes no secret of its improper motive for seeking injunctive relief in China on

 4 SEPs that are the subject of the broader global contract claims in this action. As Huawei’s Head of

 5 Global Intellectual Property, Ding Jianxin, openly acknowledged last year, Huawei is using the

 6 threat of injunctions in China as a “bargaining chip” to obtain royalties from Samsung:

 7          Perhaps judges are quite reluctant to hear injunction cases because of its staggering
            impact on the market. . . Even if injunction order were to be enforced, does Huawei
 8          really want to kick Samsung out of China? Is it possible? Of course not. . . .At the
            end of the day, your purpose is to get the royalties in return, while using legal action
 9          as a bargaining chip.

10 Ex. 1 (Speech of Ding Jianxin at 2016 China Competition Policy Forum) (certified translation). Mr.

11 Ding is correct. The threat of an injunction against Samsung’s manufacture and sale of 4G LTE

12 phones in China, including many of the 4G LTE phones it sells in the United States, is a significant

13 bargaining chip; one that Huawei’s voluntary FRAND commitments were supposed to foreclose.

14 The anticompetitive “impact” of enforcement of the Shenzhen Court’s injunction would be

15 staggering, both here and in China. Samsung manufactures                                            in

16 China,                        of which are exported to the United States and sold to U.S. customers.

17 If Huawei is permitted to enforce the Shenzhen Court’s injunction, Samsung will face a critical

18 business risk that could force an abrupt end to this litigation as Samsung would likely have no choice
19 but to accept the onerous terms from which Huawei has refused to waver.

20          Huawei chose to present the global contract issues arising from the parties’ SEP licensing

21 dispute to this Court for resolution. It should not be permitted to use the improper threat of

22 injunctions in China based on patents that are encompassed by this action to derail that process.

23 This Court should issue an antisuit injunction against Huawei’s enforcement of the injunctions in

24 China until such time as this Court has resolved the antitrust and breach of contract issues presented

25 by the parties’ competing FRAND claims. If this Court ultimately decides that Huawei is entitled

26 to seek injunctive relief in China, Huawei can seek to enforce the Shenzhen injunctions at that time.

27 In the meantime, if Huawei wishes to seek damages for alleged infringement of its Chinese

28 patents—relief that to date it has not sought—or to press forward with its recently filed action asking

                                                  -3-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18     Page 9 of 28




 1 a Chinese court to set the terms and conditions for a FRAND royalty limited to the parties’ Chinese

 2 SEPs—it remains free to do so.

 3                                    FACTUAL BACKGROUND
 4 I.       STANDARD-SETTING ORGANIZATIONS AND SEP “HOLD UP”
 5          The development and implementation of technological standards have reaped numerous

 6 benefits for consumers, businesses, and society as a whole. Ex. 2 (American National Standards

 7 Institute, United States Standards Strategy (2005)) at 3-4; Ex. 3 (Impacts of Standards Users Group,

 8 Study Into the Impact of Standardization (2002)) at i-vii. Standardization benefits consumers by

 9 maximizing the interoperability, compatibility, safety, repeatability, and quality of products and

10 services. Ex. 4 (ETSI, Why we need standards, available at http://www.etsi.org/standards/why-we-

11 need-standards); Ex. 5 (European Committee for Standardization, Bring benefits to society,

12 available at https://www.cen.eu/about/RoleEurope/Society/Pages/default.aspx). It also has many

13 pro-competitive benefits, including decreased barriers to entry, reduced costs, streamlined laws and

14 regulations, and increased competition in an industry. Ex. 6 (Peter Swann, The Economics of

15 Standardization (2000)) at 16-21; Ex. 7 (German Institute for Standardization, Economic benefits

16 of standardization (2000)). Nearly every industry, ranging from telecommunications to agriculture,

17 has benefited from standard setting. Ex. 3 at 2-4

18          Along with its advantages, standardization also carries the risk of patent “hold up.” Ex. 8
19 (Mark A. Lemley & Carl Shapiro, Patent Holdup and Royalty Stacking, 85 Tex. L. Rev. 1991, 2016-

20 17 (2007)). When a patented technology is essential to practice a technological standard, the owner

21 of the patent may attempt to “hold up” implementers of the standard through the threat of an

22 injunction for infringement. Id. If unchecked, patent “hold up” can result in patentees extracting

23 royalties far in excess of the value of their patents, drastically increasing costs for implementers,

24 and destroying competition. See id. United States investigative and enforcement bodies, including

25 the U.S. Department of Justice, the Federal Trade Commission, and the United States Patent &

26 Trademark Office, have all recognized the dangers of patent “hold up,” and have specifically

27 identified injunctive relief for SEPs as abusive and anticompetitive:

28

                                                 -4-                   Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 10 of 28




 1         The United States Department of Justice, Antitrust Division and the United States Patent &
            Trademark Office issued a joint policy statement in 2013 recognizing that an SEP holder
 2          subject to voluntary F/RAND commitments could use the threat of injunctive relief “to
            pressure an implementer of a standard to accept more onerous licensing terms than the
 3          patent holder would be entitled to receive consistent with the F/RAND commitment—in
            essence concluding that the patent holder had sought to reclaim some of its enhanced market
 4          power over firms that relied on the assurance that F/RAND-encumbered patents included in
            the standard would be available on reasonable licensing terms under the SDO’s policy.” Ex.
 5          9 at 6 (emphasis added).

 6         The DOJ and USPTO elaborated “[s]uch an order may harm competition and consumers
            by degrading one of the tools SDOs employ to mitigate the threat of such opportunistic
 7          actions by the holders of F/RAND-encumbered patents that are essential to their standards.”
            Id. (emphasis added).
 8
           The United States Federal Trade Commission has also taken a strong stand against the
 9          indiscriminate use of injunctions for SEPs, noting in an amicus brief submitted to the Federal
            Circuit in Apple v. Motorola that “a royalty negotiation that occurs under the threat of an
10          injunction may be heavily weighted in favor of the patentee in a way that is in tension with
            the RAND commitment.” Ex. 10, Apple Inc. and NeXT Software, Inc. v. Motorola, Inc.,
11          Nos. 2012-1548, 2012-1549, Dkt. No. 104 at 6 (Fed. Cir. Dec. 14, 2012).

12         The Commission further noted a FRAND commitment means that the patentee “implicitly
            acknowledged that a royalty is adequate compensation for a license to use that patent,”
13          further counseling against the award of an injunction. Id. at 9.

14         The Commission further concluded in an enforcement action that Motorola breached its
            FRAND obligations “by seeking to enjoin and exclude implementers of its SEPs” from
15          practicing the relevant standards. Ex. 11, Complaint, In the Matter of Motorola Mobility
            LLC and Google Inc., F.T.C. File No. 121-0120, Dkt. No. C-4410 at 5 (July 23, 2013).
16
           The Federal Trade Commission has also commented on the risks of injunctive relief on SEPs,
17          describing the dangers of giving “SEP owner[s] the bargaining power to extract licensing
            terms that reflect the profits from potential lost sales, which can be extraordinarily high for
18          an implementer if there is no feasible design-around alternative.” Ex. 12, FTC Chairwoman
            Edith Ramirez, Standard-Essential Patents and Licensing: An Antitrust Enforcement
19          Perspective, 8th Annual Global Antitrust Enforcement Symposium (Sept. 10, 2014) at 7.

20          United States appellate and district courts have also reached consensus that injunctive relief

21 should generally be unavailable as a remedy for infringement of SEPs. Microsoft Corp. v. Motorola,

22 Inc., 795 F.3d 1024, 1046 (9th Cir. 2015) (pursuit of injunctions during pendency of suit to

23 determine RAND rates for patents suggested “the real motivation was to induce Microsoft to agree

24 to a license at a higher-than-RAND rate”); Apple, Inc. v. Motorola Mobility, Inc., No. 11-CV-178-

25 BBC, 2012 WL 5416941, at *15 (W.D. Wis. Oct. 29, 2012) (“from a policy and economic

26 standpoint, it makes sense that in most situations owners of declared-essential patents that have

27 made licensing commitments to standards-setting organizations should be precluded from obtaining

28 an injunction or exclusionary order that would bar a company from practicing the patents”); Realtek

                                                  -5-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO         Document 235        Filed 02/01/18     Page 11 of 28




 1 Semiconductor Corp. v. LSI Corp., 946 F. Supp. 2d 998, 1009 (N.D. Cal. 2013) (granting antisuit

 2 injunction to bar enforcement of injunctive relief on SEP because “the act of seeking injunctive

 3 relief” on SEPs is “is inherently inconsistent” with a FRAND commitment, which “implies a

 4 promise not to seek injunctive relief either domestically (as is the case here) or abroad”) (emphasis

 5 added); TCL Commc’ns Tech. Holdings, Ltd. v. Telefonaktienbolaget LM Ericsson, No. 8:14-cv-

 6 00341-JVS-DFM, 2016 WL 6562075, at *4 (C.D. Cal. Aug. 9, 2016) (denying summary judgment

 7 for no breach of FRAND because “initiating infringement lawsuits and pursuing injunctive relief

 8 can constitute something more than the more innocent conduct of merely making offers that are not,

 9 themselves, FRAND”).

10          To minimize the danger of patent “hold up,” standard-setting organizations require

11 participants in the standard-setting process, including companies like Huawei and Samsung, to

12 follow specific licensing policies. Ex. 13 (Jeffrey I.D. Lewis, What Is “FRAND” All About?: The

13 Licensing of Patents Essential to an Accepted Standard (June 11, 2014), available at

14 https://cardozo.yu.edu/what-%E2%80%9Cfrand%E2%80%9D-all-about-licensing-patents-

15 essential-accepted-standard) at 2-3; see also Ex. 14 (Mark A. Lemley, Intellectual Property Rights

16 and Standard-Setting Organizations, 90 Cal. L. Rev. 1889, 1902-03, 1906 (2002)). In exchange for

17 allowing their patented technologies to be incorporated into standards, participants are typically

18 required to agree to make their SEPs available to implementers on fair, reasonable, and non-
19 discriminatory (“FRAND”) terms. Ex. 13 at 2-3. This availability of FRAND licenses is designed

20 to mitigate the threat of patent “hold up” and encourage participation in a standard. Id. When

21 standard-setting participants fail to comply with their FRAND obligations, their conduct threatens

22 participation in a standard and all of its benefits to the consumer and society, and thereby invites

23 anticompetitive and contractual scrutiny. See id. at 3-5; Ex. 14 at 1914, 1927.

24 II.      HUAWEI AND SAMSUNG’S FRAND COMMITMENTS AND NEGOTIATIONS
25          This case involves the patent licensing policy of ETSI, a European organization that sets

26 global wireless telecommunications standards, including those used in 3G and 4G networks. Ex. 15

27 (ETSI,      Mobile      Communications,        available    at     http://www.etsi.org/technologies-

28 clusters/technologies/mobile). ETSI seeks to balance the public’s need for standards against the

                                                 -6-                   Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18     Page 12 of 28




 1 rights of patent owners to be compensated for the use of their technology in the implementation of

 2 standards. Dkt. 1-1 (“ETSI IPR Policy”) §§ 3.1-2. ETSI requires its members to disclose patents

 3 that might be essential to a standard, id. § 4.1, and irrevocably undertake in writing that they are

 4 prepared to license such patents on FRAND terms. Id. § 6.1.

 5          Over time, both Samsung and Huawei have signed ETSI undertakings for numerous U.S.

 6 and foreign patents that they believe might be essential to 3G and 4G standards. Dkt. 91-14, -18, -

 7 23-26, -29, -34 (Samsung’s Licensing Declarations (Exhibits 14, 23-26, 29, and 34 to Samsung’s

 8 Answer and Am. Countercls.)); Dkt. 59-1-9 (Huawei’s Licensing Declarations (Exhibits 2.1–2.43

 9 to Huawei’s Compl.)).       And both parties agree they must be willing to license any patents

10 determined to be essential on FRAND terms. Compl. ¶ 63 (Huawei admits Samsung is “irrevocably

11 entitled” to a FRAND license to Huawei’s essential patents); Dkt. 91 (Samsung’s Answer and Am.

12 Countercls) ¶ 29 (“Samsung admits that ETSI members who are subject to a commitment to offer

13 licenses on FRAND terms and conditions are obligated not to refuse to enter a license for declared,

14 essential patents that is fair, reasonable, and non-discriminatory.”).

15          Unlike Huawei, Samsung has not preemptively asserted its patents in an attempt to shut out

16 competitors or extract licensing revenue. Samsung has always been willing to enter into cross

17 licenses with other companies that own patents, including direct competitors, see, e.g., Ex. 16 (Nokia

18 press release, Nokia and Samsung expand their intellectual property cross license (July 13, 2016));
19 Ex. 17 (Samsung press release, Samsung and Google Sign Global Patent License Agreement (Jan.

20 27, 2014)). Samsung prefers to compete in the marketplace by offering cutting-edge products that

21 customers want to buy.

22          In August 2011, at Huawei’s request, the parties began negotiating a worldwide cross license

23 for their respective 3G and 4G patent portfolios. Ex. 18 (Mar. 2, 2015 Huawei letter). They

24 regularly met in person for four-and-a-half years, but could not agree on even the most basic license

25 preconditions. See, e.g., Ex. 19 (slides from Mar. 2012 meeting); Ex. 20 (email referencing June

26 29, 2012 meeting); Ex. 21 (email scheduling June 25, 2013 meeting); Ex. 22 (email referencing

27 Sept. 24-25, 2013 meeting); Ex. 23 (email referencing Feb. 24, 2014 meeting); Ex. 24 (email

28 scheduling Feb. 13, 2015 meeting); Ex. 25 (email referencing Apr. 15, 2015 meeting); Ex. 26 (email

                                                  -7-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235        Filed 02/01/18      Page 13 of 28




 1 referencing May 20, 2015 meeting); Ex. 27 (slides from Aug. 12, 2015 meeting); Ex. 28 (email

 2 referencing Sept. 8, 2015 meeting); Ex. 29 (email scheduling Nov. 23, 2015 meeting). Over time,

 3 Huawei’s views on the desired license structure and scope have been a moving target, varying

 4 wildly, although its royalty demands have been inflexible. Ex. 19 (Huawei’s Mar. 2012 license

 5 presentation

 6                                                                         at 10; Ex. 30 (Huawei’s Apr. 7,

 7 2013 draft license agreement

 8                 ) at 2-6; Ex. 31 (Huawei’s Aug. 2014 draft license agreement

 9

10                ) at 992; Ex. 32 (Huawei’s Dec. 31, 2015

11                                                                  .

12

13

14

15

16

17

18          Huawei has rejected Samsung’s offers and shirked compromise in the hope it might acquire
19 leverage to establish its announced                                  . Ex. 19 at 10. After making trivial

20 concessions over the parties’ long history of negotiations, Huawei abruptly ended the negotiations

21 and filed this suit and the Chinese injunction actions. To date, Huawei has never identified a single

22 party that pays its desired standard rate or even articulated how it arrived at that rate.

23 III.     HUAWEI’S GLOBAL LITIGATION OFFENSIVE AGAINST SAMSUNG
24          Huawei filed this action on May 24, 2016, asserting infringement of 11 Huawei SEPs and

25 alleging Samsung breached “its commitment to enter into a SEP cross-license with Plaintiffs on

26 FRAND terms and conditions.” Compl. ¶¶ 1, 4. Huawei also seeks a judgment setting the terms

27 and conditions for a global FRAND cross license under the parties’ respective worldwide portfolios

28 of essential 3G and 4G patents, and an order enjoining Samsung from “seeking injunctive relief

                                                  -8-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 14 of 28




 1 against Huawei (including affiliates) in any jurisdiction with respect to any alleged infringement of

 2 any patent essential to 3GPP standards.” Compl. at Prayer for Relief, E.1

 3          On May 25, 2016, Huawei secretly initiated eleven separate actions in various courts across

 4 China, including ten in the Shenzhen Intermediate Court where Huawei is based, of which eight

 5 involve 3G and 4G SEPs that are the subject of the sweeping declaratory judgment claims Huawei

 6 asserts here—including direct counterparts to patents-in-suit.2 See Declaration of Guanbin Xie

 7 (“Xie Decl.”) ¶¶ 3, 11. To date, Huawei has not formally explained why it filed the Chinese

 8 injunction actions, other than to state there is no per se rule against injunctions on SEPs. See Dkt.

 9 67 (“Joint CMC Statement”) at 3.3

10          Two of Huawei’s Shenzhen actions have moved more quickly than this action, culminating

11 in the Shenzhen Court’s January 11, 2018 injunction order. Ex. 36 (Jan. 11, 2018 Shenzhen Court

12 Civil Judgment) (certified translation).      The Shenzhen Court found that Samsung’s Chinese

13 affiliates infringe Chinese Patent Nos. 201010137731.2 and 201110269715.34 (id. at 209), found

14 that Samsung

15

16                             (id.), and entered an injunction prohibiting Samsung’s Chinese affiliates

17

18
        1
19           Samsung, in turn, has counterclaimed for infringement of nine declared-essential Samsung
     patents, breach of contract based on Huawei’s failure to comply with its own FRAND licensing
20   obligations, and monopolization in violation of Section 2 of the Sherman Act. Dkt. 91 (Samsung’s
     Answer and Am. Countercls.) ¶ 1.
21        2
            Huawei has also filed an action asking a Chinese court to determine a rate for a cross-license
22   under the Chinese SEPs within the worldwide portfolios at issue here. Xie Decl. ¶ 22. This motion
     is limited to the two Shenzhen actions in which the Court has issued an injunction order. Samsung
23   does not seek to enjoin the non-SEP actions and, for now, does not seek to enjoin the Chinese rate
     setting action or even the other SEP-based injunction actions. In the event a Chinese court issues
24   an additional injunction order on SEPs, Samsung will evaluate its options, including filing one or
     more additional motions like this one to enjoin the enforcement of such an order.
25        3
            To fully respond to Huawei’s Chinese actions, Samsung filed defensive infringement actions
26   against Huawei in Beijing IP Court, stating that

27                                                   Ex. 35 (July 13, 2016 Samsung letter) at 2.
        4
        Both patents found infringed are Huawei SEPs that are direct counterparts to two of the
28 Huawei patents asserted here, U.S. Patent Nos. 8,369,278 and 8,885,587.

                                                  -9-                   Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO         Document 235          Filed 02/01/18   Page 15 of 28




 1 from any further infringement of those two patents. Id. at 209-10. Samsung believes the order is

 2 fundamentally flawed, and it filed its notice of appeal on January 26, 2018. Xie Decl. ¶ 8.

 3 IV.      SAMSUNG’S EXTENSIVE MANUFACTURING OPERATIONS IN CHINA
 4          Samsung is a leader in the smartphone market, serving consumers across the globe, including

 5 in North America, Europe, Asia, Central and South America, and Africa. Declaration of Tong Wang

 6 (“Wang Decl.”) ¶ 4.       To meet the global demand for Samsung smartphones, Samsung has

 7 established major manufacturing hubs in Huizhou and Tianjin, China. Id. ¶ 5. At a production

 8 capacity of                                     , China is the second largest production hub for

 9 Samsung’s major smartphones. Id. Samsung has invested                           into construction and

10 maintenance of its production facilities in China, and has          employees working full time in

11 these facilities. Id. At these sites, Samsung manufactured                            in 2015 and 2016

12 combined that it supplied to consumers worldwide. Id. ¶ 6.

13          Of the units manufactured in China in 2015 and 2016 (the latest years in which annual data

14 is available),                                                  were imported into the United States,

15 and that                                           Id. In addition to manufacturing, China is one of

16 the largest handset markets for Samsung. Id. ¶ 7. In 2015, Samsung sold

17 units of LTE devices in China for a total revenue of                            which accounted for

18                             of Samsung’s worldwide sales. Id. In 2016, Samsung sold
19 units of LTE devices in China for a total revenue of                , equivalent to

20 of Samsung’s worldwide sales. Id.

21          The Shenzhen Court’s injunction threatens severe harm to Samsung and the U.S. smartphone

22 market. See id. ¶¶ 8-10. If Huawei is allowed to enforce the injunction, it will interrupt Samsung’s

23 manufacturing, marketing, and sales operations in China,

24               Id. ¶ 8. This harm would also extend far beyond China. Id. ¶ 9.

25

26

27

28

                                                 -10-                  Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235         Filed 02/01/18      Page 16 of 28




 1                                                         Id. As a result, Samsung’s manufacturing and

 2 deliveries to the United States and other major markets could be delayed, harming Samsung’s sales,

 3 reputation, and ability to compete in the market. Id. Given the intense competition Samsung faces

 4 in the global smartphone industry from both established and rising companies like Apple, Huawei,

 5 LG, Oppo, and Xiaomi, it would be difficult for Samsung to regain the consumer loyalty and

 6 reputation it would lose from delays and interruptions in its Chinese operations. Id. ¶ 10.

 7                                              ARGUMENT
 8 I.       APPLICABLE LEGAL STANDARD
 9          A.      The Court Has the Power to Issue Antisuit Injunctions under Microsoft
10          A district court may enjoin a party from prosecuting a foreign action. Microsoft, 696 F.3d
11 at 880-81. “Courts derive the ability to enter an anti-suit injunction from their equitable powers.

12 Such injunctions allow the court to restrain a party subject to its jurisdiction from proceeding in a

13 foreign court in circumstances that are unjust.” E. & J. Gallo Winery v. Andina Licores S.A., 446

14 F.3d 984, 989 (9th Cir. 2006).

15          Antisuit injunctions are appropriate when a party’s foreign actions “frustrate[] this court’s

16 ability to adjudicate issues properly before it” or when “[w]ithout the issuance of an anti-suit

17 injunction, the integrity of the action before this court will be lessened.” Microsoft Corp. v.

18 Motorola, Inc., 871 F. Supp. 2d 1089, 1100 (W.D. Wash. 2012), aff’d, 696 F.3d 872 (9th Cir. 2012).
19 The Ninth Circuit emphasizes that district courts have “a duty to protect” their “legitimately

20 conferred jurisdiction to the extent necessary to provide full justice to litigants.” Gallo, 446 F.3d at

21 995. In Microsoft, the Ninth Circuit affirmed the district court’s issuance of an antisuit injunction

22 to protect its ability to resolve a global FRAND licensing dispute. The district court had enjoined

23 Motorola from pursuing claims in Germany that were motivated by an attempt to “pressure”

24 Microsoft to enter into an unfair license “before the [domestic] litigation is complete.” Microsoft,

25 696 F.3d at 886. Samsung seeks the same kind of limited relief.

26          The Ninth Circuit applies a three-part inquiry as part of its “liberal approach” to granting

27 antisuit injunction motions. See Quaak v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren, 361

28 F.3d 11, 17 (1st Cir. 2004) (the Fifth and Ninth Circuits follow the “liberal approach”). First, the

                                                  -11-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO            Document 235          Filed 02/01/18       Page 17 of 28




 1 Court determines “whether or not the parties and the issues are the same in both the domestic and

 2 foreign actions, and whether or not the first action is dispositive of the action to be enjoined.”

 3 Microsoft, 696 F.3d at 881 (quoting Gallo, 446 F.3d at 991). Second, the Court determines “whether

 4 at least one of the so-called ‘Unterweser factors’ applies.” Id. And third, it assesses “whether the

 5 injunction’s impact on comity is tolerable.” Id. An antisuit injunction, if granted, “enjoins the

 6 claimant, not the foreign court.” Gallo, 446 F.3d at 989.

 7 II.       THE PARTIES AND ISSUES ARE FUNCTIONALLY THE SAME
 8           A.      The Parties Are Functionally the Same
 9           The parties to Huawei’s actions here and in China are the same for purposes of an antisuit

10 injunction because both involve Huawei, Samsung, and their respective affiliates. “Perfect identity

11 of parties is not required . . . . Rather, it suffices that the parties be affiliated in such a way that their

12 interests coincide.” Microsoft, 871 F. Supp. 2d at 1098. Here, it is undisputed that (i) Huawei

13 Technologies Co., Ltd., Samsung Electronics Co., Ltd., and certain subsidiaries or affiliates of each

14 are the parties to this action and (ii) Huawei Technologies Co., Ltd. and certain Chinese subsidiaries

15 or affiliates of Samsung Electronics Co., Ltd. are the parties to Huawei’s foreign actions. Compare

16 Compl. at 1, with Xie Decl. ¶ 3. The parties are therefore functionally the same. See Microsoft, 871

17 F. Supp. 2d at 1098.

18           B.      The Issues Are Functionally the Same
19           The primary issue in the Shenzhen cases—the availability of injunctive relief on Huawei’s

20 FRAND-encumbered Chinese SEPs—is also at issue here in the context of the global SEP portfolios

21 of which the two Chinese SEPs in question are a part. Each party acknowledges it has contractual

22 FRAND obligations for its global portfolio of telecommunications SEPs, contends it has complied

23 with those obligations and that the other party has not, and has asked this Court to bar the other party

24 from obtaining injunctive relief anywhere in the world on those SEPs. In the circumstances

25 presented here, functional identity of issues under the Ninth Circuit’s standard is easily met. Applied

26 Med. Distribution Corp. v. Surgical Co. BV, 587 F.3d 909, 914-15 (9th Cir. 2009) (treating a Belgian

27 statutory claim as functionally the same as a breach of contract claim); InterDigital Tech. Corp. v.

28 Pegatron Corp., No. 15-CV-02584-LHK, 2015 WL 3958257, at *5 (N.D. Cal. June 29, 2015)

                                                    -12-                  Case No. 16-cv-02787-WHO
                                         SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 18 of 28




 1 (finding that the alleged violations of Taiwanese antitrust laws “arise out of the parties’ obligations

 2 pursuant to the [Agreement]”).

 3          The Ninth Circuit’s Microsoft decision, which involved highly similar facts, is instructive.

 4 Microsoft, 696 F.3d at 883. Motorola had sent a series of pre-litigation letters offering Microsoft a

 5 license under a worldwide portfolio of SEPs on terms Microsoft considered too high to be RAND5.

 6 In response, Microsoft filed a declaratory judgment action in the Western District of Washington

 7 asserting Motorola breached its contractual obligation to license the patents on RAND terms. With

 8 the case pending, Motorola sought injunctions in Germany based on infringement of European SEPs

 9 that fell within the portfolios being litigated in the Washington action. Id. at 879. The German

10 court issued an order finding infringement and confirming an injunction would issue after appellate

11 review. Three weeks before review of the injunction was complete, Microsoft moved for an antisuit

12 injunction to bar Motorola from enforcing the German injunction. Id. at 880. Microsoft asserted

13 the antisuit injunction was warranted because the U.S. district court’s resolution of the contract

14 claims would decide the question of the availability of injunctive relief and thereby ultimately

15 dispose of the German action. Ex. 37 (Microsoft’s Mot. for TRO and PI, Mar. 28, 2012, Dkt. 210)

16 at 21 (“[The requested injunction] will bar injunctive relief . . . .”); see also Ex. 38 (Microsoft’s

17 Reply in Supp. of Mot. for TRO and PI, Apr. 9, 2012, Dkt. 257) at 11. The district court agreed.

18          Rejecting Motorola’s argument that the issues were not the same because a U.S. action could
19 not resolve a dispute involving the infringement of German patents under German law, the district

20 court concluded the U.S. breach of contract claims squarely presented the key overlapping issue of

21 whether injunctive relief was an appropriate remedy for infringement of Motorola’s SEPs and

22 therefore could fully resolve the German action. Microsoft, 871 F. Supp. 2d at 1099; Ex. 39 (Def.’s

23 Opp’n to Microsoft’s Mot. for TRO and PI, Apr. 6, 2012, Dkt. 244) at 14-18. The Ninth Circuit

24 affirmed, agreeing the state contract claims would “resolve” the German action because Motorola

25

26

27      5
         The IEEE standard-setting organization requires licensing of SEPs on a “reasonable and non-
   discriminatory” or RAND basis. For purposes of this motion, there is no meaningful difference
28 between RAND and FRAND.

                                                  -13-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235         Filed 02/01/18      Page 19 of 28




 1 was obligated to license the asserted European patents on RAND terms and they fell within the

 2 worldwide license offer at the heart of the contract claim. Microsoft, 696 F.3d at 883.

 3          The Shenzhen injunction actions indisputably implicate the same contractual question of the

 4 availability of injunctive relief for FRAND-encumbered SEPs that Huawei asked this Court to

 5 resolve. Huawei asserts Samsung breached its contractual obligations by failing to engage in good

 6 faith license negotiations, rejecting alleged FRAND offers, and allegedly failing to offer FRAND

 7 terms for a license to its worldwide 3G and 4G SEP portfolios.6 As a remedy for the asserted breach,

 8 Huawei asks the Court to bar Samsung from obtaining injunctive relief anywhere in the world on

 9 those patents. Samsung, in turn, asserts its own competing breach of contract claim, as well as an

10 antitrust claim, based on Huawei’s efforts to engage in patent “hold up” through its licensing

11 conduct and its improper preemptive resort to injunction actions in Shenzhen. Dkt. 91 (Samsung’s

12 Answer and Am. Countercls.) ¶¶ 260-546. Accordingly, this action will necessarily resolve the

13 fundamental issue presented in the Shenzhen injunction action, namely, whether injunctive relief is

14 appropriate for alleged infringement of SEPs that are subject to contractual FRAND licensing

15 obligations.7

16          Huawei underscored the centrality of the parties’ FRAND licensing obligations and related

17 claims by raising them in the first paragraph of its complaint:

18          Huawei and Samsung have made binding commitments to the European
            Telecommunications Standards Institute (“ETSI”)—a 3GPP organizational partner
19          which promulgates standards developed by 3GPP—to license these standard-
            essential patents (“SEPs”) on terms and conditions that are fair, reasonable, and
20          non-discriminatory (“FRAND”).

21 Dkt. 59 ¶ 1 (emphasis added). Throughout the Complaint and in other submissions to the Court,

22 Huawei has consistently highlighted the importance of the Court’s resolution of the contractual

23

24

25      6
          Huawei even asks the Court to set the terms of a worldwide FRAND license with Samsung
26 that  would encompass Huawei’s Chinese SEPs.
        7
           The timing of the instant antisuit motion also closely parallels Microsoft. Microsoft, like
27 Samsung, filed its motion for antisuit injunction after the foreign court’s injunction order, but before
   appellate review of the injunction made the injunction enforceable. Microsoft, 696 F.3d at 880;
28 Song Decl. ¶ 7.

                                                  -14-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235      Filed 02/01/18     Page 20 of 28




 1 FRAND claims, asserting that the parties’ FRAND dispute is “at the core of this lawsuit.” Dkt. 84

 2 (Huawei’s Br. in Supp. of Request to Bifurcate or Phase Trials) at 2.

 3          That the Chinese SEPs asserted by Huawei in its Shenzhen injunction actions all fall within

 4 the global portfolios of SEPs at issue here cannot be disputed. See Xie Decl. ¶ 3. Indeed, each of

 5 those patents is listed in the Letters of Assurance Huawei attached to its Complaint. Dkt. 59-1-9

 6 (Huawei’s Licensing Declarations (Exhibits 2.1–2.43 to Huawei’s Compl.)). Moreover, the two

 7 patents on which the Shenzhen injunction order is based are direct counterparts to two of the Huawei

 8 patents asserted here, U.S. Patent Nos. 8,369,278 and 8,885,587. Xie Decl. ¶¶ 4, 7. As a predicate

 9 for its requests for injunctive relief, Huawei asked the Shenzhen Court to resolve whether its

10 licensing efforts with respect to its Chinese SEPs were FRAND, and whether Samsung refused

11 FRAND offers and breached its own FRAND obligations. See id. ¶ 5. Indeed, the Shenzhen Court

12 addresses these issues in its injunction order. Ex. 36 (Jan. 11, 2018 Shenzhen Court Civil Judgment)

13 (certified translation) at 209. Huawei has even admitted that this case will be dispositive of the

14 Chinese actions, stating in its repeated bifurcation requests that a determination of FRAND issues

15 here would likely “moot” patent infringement claims that have been “asserted here and abroad,”

16 Dkt. 84 at 1, 5, and assuring the Court that once the Court or an arbitrator resolved FRAND issues

17 Huawei could comfortably “stay all other proceedings (including those in China).” Dkt. 67 at 5.

18 Thus, adjudication of FRAND, antitrust, and licensing issues in this action, and resolution of the
19 parties’ global licensing and antitrust claims, requires this Court to address issues functionally

20 identical to those being litigated in China.

21 III.     HUAWEI HAS THE POWER TO ENFORCE THE SHENZHEN INJUNCTION
22          The Shenzhen Court’s injunction order will not be enforced until after the conclusion of the

23 appeal. Ex. 36 at 209-10; Declaration of Dr. Song Lianbing (“Song Decl.”) ¶ 7. The injunction

24 order specifically provides that

25

26                                         Ex. 36 at 209; Xie Decl. ¶ 7.

27          On January 26, 2018, Samsung filed a notice of appeal of the Shenzhen Court’s judgment.

28 Xie Decl. ¶ 8. That appeal will give the Guangdong High People’s Court (“Guangdong High

                                                  -15-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235         Filed 02/01/18      Page 21 of 28




 1 Court”) the opportunity to review de novo the procedural and substantive determinations made by

 2 the Shenzhen Court. Song Decl. ¶ 8. The parties can submit additional evidence during the appeal,

 3 and the Guangdong High Court may hold an additional evidentiary hearing. Id. The appeal is

 4 expected to conclude within months. Id. ¶ 9. Huawei can withdraw its lawsuits against Samsung

 5 at any time during the appeal to the Guangdong High Court. Id. Alternately, Huawei can request a

 6 stay of the appeal pending resolution of its claims before this Court, and the Guangdong High Court

 7 can grant such a stay in its discretion. Id.

 8 IV.      THIS COURT IS UNIQUELY SITUATED TO RESOLVE THE GLOBAL FRAND
            ISSUES OF THE PARTIES’ COMPLIANCE WITH THEIR LICENSING
 9          OBLIGATIONS AND THE AVAILABILITY OF INJUNCTIVE RELIEF
10          This Court, not the Chinese courts, should be first to determine the central overlapping issue

11 of the parties’ compliance with their FRAND obligations and the availability of injunctive relief

12 given the global nature of the parties’ FRAND dispute and Huawei’s decision to initiate proceedings

13 here. Indeed, because Samsung manufactures a significant portion of its worldwide supply of

14 smartphones in China (Wang Decl. ¶¶ 5-6), the enforcement of a Chinese injunction based on

15 Chinese SEPs included in worldwide SEP portfolios being litigated here could compel an abrupt

16 settlement of this action.

17          Courts around the world have recognized the propriety of resolving contractual FRAND

18 issues between two parties first, rather than in a piecemeal fashion on individual SEPs. In Microsoft,
19 the Ninth Circuit affirmed the district court’s grant of an antisuit injunction where the district court’s

20 determination of whether Motorola’s worldwide SEP portfolio license offer was FRAND would

21 resolve requests for injunctions in foreign patent actions involving individual SEPs within that

22 portfolio. Microsoft, 696 F.3d at 883. In TCL Communication Technology Holdings, Ltd. v.

23 Telefonaktienbolaget LM Ericsson, another FRAND licensing dispute, the court similarly granted

24 an antisuit injunction to prevent either party from pursuing foreign patent claims on individual SEPs

25 that were the subject of the court’s global FRAND determination because “the [domestic] FRAND

26 action should resolve [the parties’] global licensing dispute.” Ex. 40, No. 8:14-cv-00341-JVS-DFM,

27 Dkt. 279-1 at 5 (C.D. Cal. June 29, 2015). Similarly, in Unwired Planet International Ltd. v. Huawei

28 Technologies Co., Ltd., the UK High Court of Justice recognized that global cellular SEP licenses

                                                   -16-                  Case No. 16-cv-02787-WHO
                                        SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235         Filed 02/01/18      Page 22 of 28




 1 are common in the industry and have economic efficiencies, and found that a global cellular SEP

 2 license was consistent with FRAND licensing obligations. Ex. 41, [2017] EWHC 711 (Pat) at [543-

 3 44].

 4          Here, the parties’ claims, first initiated by Huawei, ask this Court to adjudicate the gateway

 5 issue of whether the parties have complied with—or breached—their respective FRAND obligations

 6 and, if so, whether as a result of such breach, either party may obtain injunctive relief anywhere in

 7 the world on their SEPs. Huawei has even asked this Court to resolve what the FRAND contract

 8 requires between these two parties, consistent with the parties’ negotiations for a cross license to

 9 their worldwide cellular SEP portfolios. Samsung, in turn, has joined the dispute asserting its own

10 contractual FRAND counterclaims and an antitrust counterclaim based on related conduct. Given

11 both parties’ decision to make this action the centerpiece for their worldwide contractual FRAND

12 dispute, this Court should issue the antisuit injunction to resolve the fundamental contractual

13 questions the parties have presented, rather than allowing them to be decided piecemeal in Chinese

14 courts based on subsets of the SEPs at issue here.8

15 V.       MULTIPLE UNTERWESER FACTORS APPLY
16          Multiple Unterweser factors support the requested antisuit injunction. Huawei’s Chinese

17 actions will frustrate U.S. antitrust law, are vexatious and oppressive, and prejudice multiple

18 equitable considerations. Any one of these factors alone “may justify a foreign anti-suit injunction.”
19 Microsoft, 696 F.3d at 882 n.9 (quoting Gallo, 446 F.3d at 991).

20

21
        8
22          The recent denial of an antisuit injunction in Apple Inc. v. Qualcomm Inc., No. 3:17-cv-00108-
     GPC-MDD, 2017 WL 3966944 (S.D. Cal. Sep. 7, 2017) is distinguishable. There, Qualcomm
23   sought an antisuit injunction barring Apple from proceeding with a wide range of actions in the
     United Kingdom, China, Taiwan, and Japan without regard to injunction orders. Id. at *4-5 (“The
24   motion seeks to enjoin Apple from pursuing all of the claims in all of the foreign actions and from
     filing any other foreign action during the pendency of the U.S. action.”). In contrast, Samsung’s
25
     present motion is narrowly tailored to the specific injunction order issued by the Shenzhen Court on
26   two Chinese patents. Although Huawei is pursuing other SEP and non-SEP actions in China, as
     well as a rate-setting action before the Guangdong High People’s Court, Samsung is not moving to
27   enjoin any of those actions at the present time. In the event an initial injunction order issues on
     other Chinese SEPs, Samsung will likely move for antisuit injunctions at that time if this case is still
28   pending.

                                                   -17-                  Case No. 16-cv-02787-WHO
                                        SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 23 of 28




 1          A.      Huawei’s Enforcement of Injunctions in China Violates U.S. Antitrust Law
                    and Will Frustrate Both U.S. Policy and the Policies of This Court
 2

 3          Pursuing injunctive relief against a willing manufacturer is anticompetitive, inconsistent

 4 with contractual FRAND obligations, and risks harming downstream consumers. Huawei pointed

 5 these risks out in recent litigation in which it faced the prospect of injunctive relief on SEPs:

 6          [A] consensus is rapidly emerging among regulatory bodies and the federal courts
            that, when there is a dispute as to the FRAND rate for declared-essential patents, the
 7          accused infringer must be given the opportunity to accept a FRAND rate determined
            by a court or arbitrator, and that opportunity must be given before the patentholder
 8          can seek injunctive relief.

 9 Ex. 42, InterDigital Commc’ns, Inc. v. Huawei Tech. Co., Ltd., No. 1:13-cv-00008-RGA, Dkt. 17

10 at 1 (D. Del. Feb. 11, 2013) (Huawei’s Op. Br. in Supp. of Mot. for Expedited Disc. and Expedited

11 Trial on FRAND Countercls.) (emphasis added).9 Huawei is correct a “consensus” has emerged,

12 and is now firmly established in the U.S., that using requests for injunctive relief as a bargaining

13 tool for SEP licensing is improper. See supra Factual Background § I; Exs. 8-14. Huawei itself—

14 in this action—not only acknowledges, but invokes that consensus as it requests that Samsung be

15 enjoined from seeking an injunction in any foreign action for infringement of an SEP. Compl. at

16 Prayer for Relief, E.

17          Huawei’s attempt to enforce the Shenzhen Court’s injunction will also frustrate general

18 domestic policies of this forum against anticompetitive conduct and breaches of contract. “[O]ne
19 clear policy that all federal courts recognize—even those which have been loath to interfere with

20 foreign proceedings—is the need to protect the court’s own jurisdiction.” Zynga, Inc. v. Vostu USA,

21 Inc., No. 11-cv-02959-EJD, 2011 WL 3516164, at *3 (N.D. Cal. Aug. 11, 2011). Courts have

22 therefore repeatedly found foreign litigation to frustrate domestic policy when defendants seek to

23 use the foreign litigation to evade contractual obligations or compliance with U.S. law. See Quaak

24 v. Klynveld Peat Marwick Goerdeler Bedrijfsrevisoren, 361 F.3d 11, 20 (1st Cir. 2004) (“Where, as

25 here, a party institutes a foreign action in a blatant attempt to evade the rightful authority of the

26
        9
27        In that same brief, Huawei argued, just as Samsung does here, that the SEP holder was
   ignoring these recent decisions to pursue the “leverage to force a non-FRAND license rate on
28 Huawei.” Id.

                                                  -18-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18     Page 24 of 28




 1 forum court, the need for an antisuit injunction crests.”); Laker Airways Ltd. v. Sabena, Belgian

 2 World Airlines, 731 F.2d 909, 927 (D.C. Cir. 1984) (“Injunctions are most often necessary to protect

 3 the jurisdiction of the enjoining court, or to prevent the litigant’s evasion of the important public

 4 policies of the forum.”).

 5          Huawei’s pursuit of injunctions on its SEPs in China is a blatant attempt to renege on its

 6 contractual FRAND commitments.            By pursuing and attempting to enforce the Shenzhen

 7 injunctions, Huawei seeks to substantiate and wield its holdup power against willing licenses, like

 8 Samsung, whose ability to compete in China and worldwide depends on its sales and manufacturing

 9 activities there. Huawei’s enforcement of such an injunction will further its wrongful scheme in

10 contravention of this forum’s specific public policies against injunctive relief on SEPs and general

11 policies against breach of contracts and anticompetitive conduct. Only an antisuit injunction can

12 rectify this conduct.

13          B.     Huawei’s Chinese Injunction Actions Are Vexatious and Oppressive
14          Huawei’s Chinese injunction actions raise serious concerns of forum shopping and

15 duplicative and vexatious litigation. Its motives in pursuing injunctive relief only from the Chinese

16 courts—not this Court—are clear: injunctive relief is rarely if ever warranted in U.S. cases

17 involving SEPs and thus Huawei necessarily recognizes that the threat of a U.S. injunction will fail

18 to provide the desired licensing leverage. The Chinese injunction actions, in contrast, as Huawei’s
19 own Vice President, Ding Jianxin, explained in October 2016 at the 2016 China Competition Policy

20 Forum, serve Huawei’s purposes by allowing it “to get the royalties in return, while using legal

21 action as a bargaining chip.” Ex. 1 (Speech of Ding Jianxin at 2016 China Competition Policy

22 Forum) (certified translation).

23          This resort to improper injunction-based licensing leverage is precisely the type of conduct

24 Microsoft found to justify the grant of an antisuit injunction. Microsoft, 696 F.3d at 886. There, the

25 Ninth Circuit affirmed the district court’s finding that defendant’s invoking of foreign litigation

26 seeking injunctive relief on a subset of its SEPs already at issue in the U.S., and doing so “before

27 [the U.S.] court could adjudicate that precise issue, i.e., the propriety of injunctive relief for

28 infringement of standard-essential patents,” raises concerns of forum shopping and duplicative and

                                                 -19-                  Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 25 of 28




 1 vexatious litigation. Id. (citing district court opinion) (internal quotations omitted). Huawei’s forum

 2 shopping is unmistakable. As in Microsoft, Huawei’s actions are nothing but “a procedural

 3 maneuver designed to harass [Samsung] with the threat of an injunction removing its products from

 4 a significant [] market and so to interfere with the court’s ability to decide the contractual [and

 5 antitrust] questions” properly placed before it. Id. at 886.

 6          C.      Huawei’s Chinese Actions Prejudice Multiple Equitable Considerations
 7                  1.     The Chinese Actions Permit Huawei to Circumvent U.S. Law and Risk
                           Injuring Consumers and the Marketplace
 8

 9          Absent an antisuit injunction, Huawei will be able to make an end run around the U.S.

10 antitrust and contract laws by enforcing an injunction that was granted without any deference to the

11 U.S. laws.     Huawei’s enforcement of the injunction will inflict serious harm on Samsung’s

12 smartphone business in China and worldwide, Wang Decl. ¶¶ 8-10, thus “compromising [this

13 Court’s] ability to reach a just result in the case before it free of external pressure on [Samsung] to

14 enter into a ‘holdup’ settlement before the litigation is complete.” Microsoft, 696 F.3d at 886

15 (quoting district court opinion). Furthermore, Huawei’s wrongful actions will injure consumers and

16 the marketplace. See Wang Decl. ¶ 10. Having represented to this Court that these issues are “at

17 the core of this lawsuit” (Huawei’s Br. in Supp. of Req. to Bifurcate or Phase Trials at 5 (Dkt. 84))

18 and invoked this Court’s power to issue remedies on a global basis, Huawei’s litigation tactics in
19 China should not now be allowed to deprive this Court of that opportunity.

20                  2.     Huawei’s Chinese Actions Could Result in Inconsistent Rulings or a Race
                           to Judgment
21

22          Huawei’s eight lawsuits across China on individual SEPs—culminating in the Shenzhen

23 Court’s injunction order—create a risk of inconsistent judgments that further supports the requested

24 antisuit injunction. On one hand, Huawei has asked this Court to determine whether the parties have

25 breached their FRAND obligations, to determine whether injunctive relief is available, and even to

26 set the terms and conditions of a worldwide SEP cross license permitting each party to make use of

27 the other’s patented technologies. On the other hand, at Huawei’s request, the Shenzhen Court has

28 issued an injunction that will serve to prohibit Samsung from using a subset of these same rights.

                                                  -20-                  Case No. 16-cv-02787-WHO
                                       SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO           Document 235         Filed 02/01/18      Page 26 of 28




 1 Huawei’s enforcement of this injunction, and further pursuit of injunctions before other Chinese

 2 courts, will only intensify the risk of inconsistent judgments between this Court and the Chinese

 3 courts, placing Samsung “in an impossible position of attempting to alter its behavior in an attempt

 4 to satisfy conflicting rulings.” Albemarle Corp. v. AstraZeneca UK Ltd., No. Civ. A. 5:08-1085-

 5 MBC, 2009 WL 902348, at *7 (D.S.C. Mar. 31, 2009). Huawei’s duplicative lawsuits raise related

 6 concerns that it is engaged in an improper “race to judgment.” Seattle Totems Hockey Club, Inc. v.

 7 National Hockey League, 652 F.2d 852, 856 (9th Cir. 1981). By placing the same global FRAND

 8 questions before this Court and several Chinese courts, Huawei can test the waters in each court and

 9 then race to judgment in whichever jurisdiction it believes to be most sympathetic to its cause.

10 VI.      THE REQUESTED INJUNCTION HAS NO ADVERSE IMPACT ON COMITY
11          The last step in determining whether an antisuit injunction is warranted is to assess whether

12 the injunction’s “impact on comity is tolerable.” Gallo, 446 F.3d at 991. “Comity is ‘the recognition

13 which one nation allows within its territory to the legislative, executive or judicial acts of another

14 nation, having due regard both to international duty and convenience.’” Id. at 994 (quoting Hilton

15 v. Guyot, 159 U.S. 113, 164 (1895)). The Ninth Circuit has held repeatedly that private contractual

16 disputes have little, if any, impact on comity. See, e.g., Microsoft, 696 F.3d at 887 (“[C]omity is

17 less likely to be threatened in the context of a private contractual dispute than in a dispute implicating

18 public international law or government litigants.”). In contrast, the Ninth Circuit has recognized
19 that allowing a private party to proceed with duplicative lawsuits in multiple jurisdictions may itself

20 have an intolerable impact on comity. See Applied Med., 587 F.3d at 921; Gallo, 446 F.3d at 994.

21 The presence of antitrust claims does not change that result. See InterDigital, 2015 WL 3958257,

22 at *8.

23          Here, the requested antisuit injunction would have no impact on comity. This is a private

24 commercial dispute between two corporations, and does not implicate any foreign governments.

25 Huawei has asked this Court to resolve a global dispute concerning the parties’ FRAND licensing

26 obligations and their ability to obtain injunctive relief on SEPs, which will obviate the SEP

27 injunction actions Huawei has launched across China. Samsung does not ask the Court to bar any

28 of the Chinese courts from taking any specific actions, but rather asks only that the Court restrain

                                                   -21-                  Case No. 16-cv-02787-WHO
                                        SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235        Filed 02/01/18      Page 27 of 28




 1 Huawei from taking further actions—namely enforcing an injunction order—that would undermine

 2 this Court’s ability to resolve the gateway FRAND questions the parties have presented. Huawei

 3 would remain free to seek damages for infringement of the Chinese patents while this action is

 4 pending. Comity is simply not offended by this Court’s exercise of jurisdiction over, and protection

 5 of, this private contractual dispute.

 6                                            CONCLUSION
 7          For the reasons set forth herein, Samsung respectfully requests this Court to grant its

 8 motion for an injunction, and enter an order barring Huawei from enforcing injunctive relief it has

 9 obtained in China during the pendency of the proceedings here in California.

10

11 DATED: February 1, 2018                        Respectfully submitted,

12                                                QUINN EMANUEL URQUHART &
                                                  SULLIVAN, LLP
13

14                                                By /s/ Charles K. Verhoeven
                                                    Charles K. Verhoeven
15                                                  Kevin P.B. Johnson
                                                    Victoria F. Maroulis
16                                                  Thomas D. Pease
                                                    David A. Perlson
17

18                                                   Attorneys for Samsung Electronics Co., Ltd.,
                                                     Samsung Electronics America, Inc., and
19                                                   Samsung Research America, Inc.
20

21

22

23

24

25

26

27

28

                                                 -22-                  Case No. 16-cv-02787-WHO
                                      SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO        Document 235       Filed 02/01/18     Page 28 of 28




 1                                         ATTESTATION
 2         I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file the

 3 above Motion. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Charles K. Verhoeven

 4 has concurred in the aforementioned filing.

 5

 6                                                     /s/ Victoria F. Maroulis
                                                       Victoria F. Maroulis
 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                                -23-                  Case No. 16-cv-02787-WHO
                                     SAMSUNG’S MOTION FOR A PRELIMINARY ANTISUIT INJUNCTION
